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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR182
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                 MEMORANDUM
                                              )                  AND ORDER
LEOPOLDO MEJIA and                            )
OLIVIA LORENZO,                               )
                                              )
              Defendants.                     )

       This matter is before the Court on the government’s motion for preliminary forfeiture

as to Defendant Leopoldo Mejia (Filing No. 74) and motion to vacate the preliminary order

of forfeiture entered as to Defendant Olivio (Filing No. 86). The motion to vacate is

premised upon the fact that the currency, which is the sole subject of the motion for

preliminary forfeiture, has been administratively forfeited.

       IT IS ORDERED:

       1.     The government’s motion to vacate (Filing No. 86) is granted;

       2.     The previous preliminary of forfeiture (Filing No. 76) is vacated;

       3.     The government’s motion for preliminary forfeiture as to Defendant Mejia

              (Filing No. 74) is denied as moot.

       DATED this 14th day of February, 2007.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge
